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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG                        MDL NO. 2179
"DEEPWATER HORIZON" IN THE
GULF OF MEXICO, ON APRIL 20,                           SECTION “J” (1)
2010
                                                       JUDGE BARBIER
APPLIES TO: 11-274 and 11-275
                                                       MAGISTRATE SHUSHAN


                                 NOTICE OF SUBMISSION

               PLEASE TAKE NOTICE that the undersigned parties shall bring on for hearing

their Motion to Dismiss Transocean’s Complaint in Intervention before the Honorable Carl J.

Barbier, United States District Court, Eastern District of Louisiana, 500 Poydras Street, New

Orleans, Louisiana, 70130 at 9:30 a.m. on the 25th day of May, 2011, or as soon thereafter as

counsel may be heard.

                                                  Respectfully submitted,

                                                   /s/ David B. Goodwin
       Allan B. Moore                              David B. Goodwin
       Seth A. Tucker                              M. Alexia dePottere-Smith
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   BP Corporation North America Inc., BP Company North America Inc., BP Products North
       America Inc., BP America Inc., BP Holdings North America Limited, and BP plc


Dated: May 3, 2011
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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Notice of Submission has been served on

All Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance

with Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court

of the United States District Court for the Eastern District of Louisiana by using the CM/ECF

System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, on this 3rd day of May, 2011.


                                                            /s/ Christopher J. Wenk
                                                            Christopher J. Wenk
